             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

LAQUITA OLIVER, et al.,

                          Plaintiffs,

               v.                       Case No. 23-cv-01731 (LMB) (WEF)

NAVY FEDERAL CREDIT UNION,

                          Defendant.




                 DEFENDANT’S MEMORANDUM OF LAW
                  IN SUPPORT OF MOTION TO DISMISS
       PLAINTIFFS’ SECOND AMENDED CONSOLIDATED COMPLAINT
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                                       INTRODUCTION

       In granting Plaintiffs leave to amend the Consolidated Complaint, Dkt. No. 56, the Court

provided clear instructions about what each Plaintiff needed to do in order to plausibly state a

disparate impact claim arising out of the outcomes on their particular loan applications: plead

specific information about their mortgage applications, including income, debt, and home value,

and the reasons provided for their loan outcomes. As the Court recognized, all this information

is in each Plaintiff’s possession. Rather than heeding the Court’s clear directions, the Second

Amended Consolidated Complaint (“SAC”) relies once again on the same conclusory allegations

and adds only one new detail, an estimated credit score, for one Plaintiff.

       Despite five opportunities to do so, Plaintiffs once again failed to provide sufficient detail

about their individual circumstances to plausibly state a claim. Specifically, none of the factual

allegations necessary to plead a causal connection between the decision Navy Federal made on

their loans and the alleged “secret” underwriting algorithm appears in the SAC. And the denial

letters (incorporated by reference in the SAC) make clear that the objective credit criteria

Plaintiffs failed to plead explain the outcomes, rendering implausible Plaintiffs’ disparate impact

claims. The SAC should be dismissed, this time with prejudice.

                                        BACKGROUND

       On May 24, 2024, the Court held a hearing on Navy Federal’s motion to dismiss and to

strike Plaintiffs’ First Amended Complaint (“FAC”), which asserted disparate treatment and

disparate impact claims under the Fair Housing Act (FHA), Equal Credit Opportunity Act

(ECOA), 42 U.S.C. § 1981, and state law on behalf of nine named plaintiffs and a putative class.

The Court explained that “[t]here are too many factual issues that are not adequately addressed in

the complaint” and “not enough detail to be able to have this case go forward.” Hr’g Tr. 4:15-16,

7:12-13. The Court “direct[ed] the plaintiffs to redevelop their complaint in a much more

                                                 1
specific manner as to each plaintiff that’s going to go forward” if they hoped to “to make this out

as a plausible case” in the amended complaint. Hr’g Tr. 9:3-6, 17-18.

       The Court identified the additional information expected for each plaintiff: “what their

income was when they applied for the mortgage,” “what their debt situation was at the time they

applied for the mortgage,” “the value of the house that they were applying for when they applied

for the mortgage,” and “the various facts that the defendant pointed out in the motion to

dismiss,” Hr’g Tr. 9:9-16. The Court directed Plaintiffs to provide “a clearer picture of exactly

how—what the parameters are for why these particular mortgages were denied” given that each

individual plaintiff is in possession of that information and thus “should be able to get that

detail.” Hr’g Tr. 7:13-14, 11:22-24. Those additional facts were “going to be necessary” for the

case to move forward. Hr’g Tr. 7:11-15. On May 30, 2024, the Court issued an order and

opinion dismissing the FAC in part, striking the class allegations, and ordering Plaintiffs to file

an amended complaint consistent with its reasoning. See generally Dkt. Nos. 91 (“Mem.

Op.”), 92.

       On July 1, Plaintiffs filed the SAC, after an eighteen-day extension. Dkt. No. 102.1

When requesting the extension, Plaintiffs specifically noted the additional time was needed, in

part, to “make the necessary changes to the one or more resulting amended complaints to comply

with the Court’s Order.” Dkt. No. 94 at 2. Although the SAC removed certain allegations, it did

not add any of the information the Court identified as necessary for the case to move forward,

with one exception.2 Plaintiffs continue to assert the same conclusory allegations questioning


1
 For the Court’s convenience, attached is Exhibit A, a redline comparing the SAC to the FAC.
See Ex. A.
2
  Despite the Court’s admonishment, Mem. Op. at 9 n.3, the SAC still includes allegations that
the Court found irrelevant, like allegations concerning Navy Federal’s website, see SAC ¶¶ 13-
14, 100.

                                                  2
Navy Federal’s commitment to its membership, despite the fact that Navy Federal ranks third

amongst leading lender in the percentage of mortgage loans made to Black borrowers.3 Because

the existing allegations were summarized in the Court’s Memorandum Opinion ruling on Navy

Federal’s first Motion to Dismiss, see Mem. Op. at 2-6, this memorandum provides only a brief

overview, noting new allegations. The following chart (which appeared in Navy Federal’s first

Motion to Dismiss and the Court’s Opinion) summarizes the allegations regarding Plaintiffs’

circumstances, highlighting the information that the Court directed Plaintiffs add to the amended

complaint:



                   R. Otondi        D. Walker         C. Batchelor   J. Jackson         L. Oliver
    Race/          African          African           African        African            African
    Ethnicity      American         American          American       American           American
                                    VA cash-out       First
    Product        First mortgage   refinance         mortgage       First mortgage     First mortgage
                                    “exceeding        “more than
    Income         $100,000         $100,000”         $140,000”      Not alleged        “over $95,000”
    Credit Score   “above 700”      “above 620”       “above 700”    “above 700”        “above 650”
                   “minimal                                          “minimal
                   outstanding                                       outstanding
    Debt           debt”            Not alleged       Not alleged    debt”              Not alleged
    Value of
    House          Not alleged      Not alleged       Not alleged    Not alleged        Not alleged


                   C. Gardner        C. Carr                   M. Pereda              C. Hill
    Race/          African
    Ethnicity      American          African American          Hispanic/Latina        African American
                                                               First mortgage;        Cash-out
    Product        First mortgage    VA first mortgage         refinance              refinance
                                                               “several hundred
                                     More than $130,000        thousand dollars
    Income         $92,000           with spouse               per year”              $80,000

3
  Press Release, Navy Federal Credit Union, Navy Federal Credit Union Responds to Allegations
Concerning Its Home Lending Practices (Dec. 18, 2023),
https://www.navyfederal.org/about/press-releases/2023/navy-federal-responds-to-home-lending-
allegations.html, cited in SAC ¶ 97.

                                                  3
                    “approximately
    Credit Score    800”               “above 620”              “above 650”            “above 670”
                                       “minimal outstanding                            “minimal debt
                                       debt obligations                                obligations”
                                       consisting of minimal    “minimal debt,         including car loan
                                       credit card debt and a   aside from existing    and $10k in credit
    Debt            Not alleged        car loan.”               mortgage loan”         card debt
    Value of
    House           Not alleged        Not alleged              Not alleged            Not alleged

          Aside from adding a single credit score for one Plaintiff (bolded above), see SAC ¶ 233,

the SAC added no allegations about the individual Plaintiffs, even though all the information

required by the Court is in their possession. Neither did Plaintiffs plead the reasons Navy

Federal provided for their mortgage denials, as it is required to do, see 15 U.S.C. § 1691(d). And

the SAC nowhere alleges that the individual Plaintiffs’ mortgage applications were denied

because of the alleged “secret” underwriting algorithm. According to the letters sent to each

plaintiff, Plaintiffs were denied mortgages based on various objective criteria, including because

Navy Federal was unable to verify their incomes, because they had insufficient income for the

loans for which they applied, and/or because they had other excessive debt obligations. See

Ex. B.4

                                            ARGUMENT

          Because Plaintiffs do not adequately plead that their loan outcomes were the result of the

asserted “secret” underwriting algorithm, as opposed to objective industrywide credit criteria, the


4
  “While a 12(b)(6) motion focuses on the allegations of the complaint, . . . a document attached
to a motion to dismiss may be considered when evaluating a motion to dismiss if the document
was ‘integral to the complaint and authentic.’” Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,
164 (4th Cir. 2016) (quoting Sec’y of State For Defence v. Trimble Nav. Ltd., 484 F.3d 700, 705
(4th Cir. 2007)); see SAC ¶¶ 7-8, 10, 21-22, 24-29, 92, 114-115, 129, 157, 170, 184, 202, 214,
223, 237, 258 (alleging Navy Federal denied the individual plaintiffs’ loan applications). Navy
Federal filed the denial letters under seal and discusses them in this public filing at a high level.
While the Court may consider the denial letters, the actual reasons for the outcomes are not
necessary to show that Plaintiffs failed to meet their burden to plead a plausible claim.

                                                   4
SAC fails to state a disparate impact claim on behalf of these Plaintiffs under the FHA or ECOA.

See Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009) (explaining that complaint must include facts

rendering claim plausible, not just conceivable); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007) (holding that plaintiffs must plead “enough facts to state a claim to relief that is plausible

on its face”). The Court should dismiss the SAC with prejudice, as this is Plaintiffs’ fifth

attempt.

I.     The Second Amended Complaint Fails To State A Disparate Impact Claim On
       Behalf Of These Plaintiffs

       The FHA and ECOA provide an “aggrieved person” a cause of action to challenge

discrimination in mortgage lending decisions “because of race.” 42 U.S.C. §§ 3605(a), 3613

(FHA); see 15 U.S.C. §§ 1691(a), 1691e (ECOA). Courts have recognized that the phrase

“because of race” encompasses claims where a practice has a disparate impact, even if there is no

discriminatory intent. Tex. Dep’t of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc., 576

U.S. 519, 535 (2015). To plead a disparate impact claim, the SAC must allege 1) a disparate

impact on the protected class; 2) a specific policy of the defendant; and 3) a causal connection

between the policy and the disparate impact. Reyes v. Waples Mobile Home Park Ltd. P’ship,

903 F.3d 415, 425 (4th Cir. 2018).

       For a causal connection between the alleged policy and the alleged disparate impact,

plaintiffs must show that “a given policy had a discriminatory impact on them as individuals.”

See Betsey v. Turtle Creek Assocs., 736 F.2d 983, 987 (4th Cir. 1984); see, e.g., Letke v. Wells

Fargo Home Mortg., Inc., 2015 WL 1438196, at *8 (D. Md. Mar. 27, 2015) (dismissing disparate

impact claim because plaintiff failed to adequately plead that “lending policies resulted in

discriminatory impact on [plaintiff] as an individual”). “The correct inquiry is whether the

policy in question had a disproportionate impact on the minorities in the total group to which the


                                                  5
policy was applied.” Betsey, 736 F.2d at 987 (emphasis added); see also Reyes, 903 F.3d at 426

(no disparate impact claim where “no barriers or practices deterring qualified nonwhites from

applying” (emphasis added) (quoting Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 653

(1989))).

       Here, the Court’s Opinion concluded that the FAC adequately alleged (at the pleading

stage) statistical disparities that showed a disparate impact and a “secret” underwriting algorithm

and process alleged to have caused the statistical disparity. Mem. Op. at 16; see also Dkt. No. 56

¶ 64.5 Because Plaintiffs have not followed the Court’s direction to allege their own

circumstances, however, the SAC fails to adequately allege that the asserted policy had a

disparate impact on them.

       As the Court previously recognized, Plaintiffs did not “adequately detail their credit

score, assets, loan value, property value, ratio of the total amount of debt secured by the property

to the property value (‘LTV’), or ratio of total monthly debt to total monthly income (‘DTI’) at

the time they applied for any of Navy Federal’s mortgage products.” Mem. Op. at 11. The FAC

also did not “provide[] the reasons given by Navy Federal as the basis for the denial.” Mem. Op.

at 5. The SAC does not correct these omissions, making it implausible that Plaintiffs were

denied based on some “secret” algorithm rather than those objective credit criteria, which are

consistent with government-sponsored enterprise guidelines.6 Cf. Miller v. Countrywide Bank,

N.A., 571 F. Supp. 2d 251, 253, 256 (D. Mass. 2008) (finding that causation was established only



5
 Navy Federal must accept the allegations as true and accepts the Court’s prior ruling for
purposes of this motion but disputes that Plaintiffs ultimately will be able to show either.
6
  See, e.g., Fannie Mae, Selling Guide: Fannie Mae Single Family (June 5, 2024),
https://singlefamily.fanniemae.com/media/39241/display, 163-171 (guidelines for use of LTV
ratios), 299-354 (guidelines for income assessment and verification), 487-491 (guidelines for use
of DTI ratio).

                                                 6
when pricing decisions were based on discretion, rather than “objective standards that define

creditworthiness” including “credit history, credit score, debt-to-income ratio, or loan-to-value

ratio”).

           Moreover, while it need not do so to decide this motion, for the eight Plaintiffs whose

loans were denied, the Court may consider the denial letters which show that the outcomes of

their applications were based on identifiable credit criteria. For example, three Plaintiffs (Mr.

Carr, Mr. Otondi, and Ms. Pereda) were denied at least in part because Navy Federal was unable

to verify their income. Ex. B at 3, 21, 26. Five plaintiffs (Mr. Gardner, Ms. Oliver, Mr. Jackson,

Mr. Otondi, and Ms. Pereda) were denied at least in part because their income was insufficient

for the amount of the loan requested. Ex. B at 6, 9, 15, 18, 21, 26.7 And three plaintiffs (Ms.

Hill, Ms. Pereda, and Mr. Walker) were denied at least in part because they had delinquent past

or present credit obligations.8 Ex. B at 12, 23, 29. The SAC does not identify these reasons, and

there is no allegation that these explanations were not in fact the reasons for the denials. And

because Plaintiffs do not otherwise allege their qualifications, the SAC provides no inference

otherwise. For instance, Mr. Jackson’s application was denied solely because his income was

insufficient for the amount of the loan. Ex. B at 15. Yet Mr. Jackson does not allege his income

or the amount of the loan, or otherwise plead that it was not his income that led to the denial.




7
 Exhibit B contains two denial letters for Mr. Gardner because he appealed his original loan
denial.
8
 The denial letters also demonstrate that the FHA claims of four Plaintiffs (Mr. Otondi, Ms. Hill,
Mr. Carr, and Mr. Walker) are barred by the FHA’s two-year statute of limitations. See 42 U.S.C.
§ 3613(a)(1)(A).

                                                    7
And none of the plaintiffs who were denied due to lack of income verification allege that they

provided the required documentation, which is identified on Navy Federal’s website.9

       There is an additional reason that Ms. Batchelor does not sufficiently plead a disparate

impact claim: there are no alleged statistical disparities connected to her loan. Ms. Batchelor

alleges that her loan was approved, but at a higher interest rate than she otherwise would have

received but for her race. SAC ¶¶ 142-144. Neither the CNN nor Markup reports (the reports

that looked at Navy Federal specifically) assessed interest rates.10 SAC ¶¶ 73-80. Only the

NCUA Research Note did,11 which “does not speak to Navy Federal’s practices given that it

analyzes the credit union industry as a whole,” Mem. Op. at 16; SAC ¶ 85. Simply put, there is

no allegation in the SAC that there were any statistical disparities in Navy Federal’s loan pricing.




9
  See Navy Federal Credit Union, Mortgage FAQs, https://www.navyfederal.org/loans-
cards/mortgage/frequently-asked-questions.html#mortgage-accord-2 (recommending that
applicants collect W-2 forms for the last two years, pay stubs for the last 1-3 months, personal
tax returns for the last two years, and monthly debt and living expenses as part of the income
verification process). See also Fannie Mae, supra note 6, at 299-354 (guidelines for income
verification); Veteran’s Administration, Lender’s Handbook VA Pamphlet 26-7, Revised, at 4-5 to
4-21, https://benefits.va.gov/warms/pam26_7.asp (revised Feb. 22, 2019) (guidelines for required
income documentation).
10
   See Casey Tolan et al., The Nation’s Largest Credit Union Rejected More Than Half of its
Black Conventional Mortgage Applicants, CNN Business (Dec. 14, 2023),
https://www.cnn.com/2023/12/14/business/navy-federal-credit-union-black-applicants-
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https://ncua.gov/files/publications/analysis/observations-credit-unions-mortgage-lending-
minority-borrowers.pdf.

                                                 8
       Because Plaintiffs plead no plausible connection between their loan outcomes and the

asserted disparate impact, the SAC fails to state a claim, and it should be dismissed.12

II.    The SAC Should Be Dismissed With Prejudice

       The Court provided clear instructions for Plaintiffs to “redevelop their complaint in a

much more specific manner as to each plaintiff that’s going to go forward” in order “to make this

out as a plausible case.” Hr’g Tr. 9:4-6, 17-18. Yet Plaintiffs failed to follow the Court’s

directive, even with the benefit of an eighteen-day extension, see Dkt. No. 95. The SAC

provides one additional allegation about one individual plaintiff, see SAC ¶ 233, and none of the

information the Court specifically listed.

       When “amendment would be futile in light of the fundamental deficiencies in plaintiffs’

theory of liability,” a court may dismiss a complaint with prejudice. Cozzarelli v. Inspire

Pharms., Inc., 549 F.3d 618, 630 (4th Cir. 2008). Dismissal with prejudice is likewise justified

when a plaintiff has made repeated and “unsuccessful attempt[s] at pleading a plausible claim.”

Chennault v. Mitchell, 923 F. Supp. 2d 765, 773 (E.D. Va. 2023) (adopting report and

recommendation granting motion to dismiss with prejudice).

       Plaintiffs have now been given multiple opportunities to include the requisite allegations

and have not done so. Ms. Oliver initiated this lawsuit with the first complaint in December

2023. Dkt. No. 1. Two more class complaints followed, naming four additional plaintiffs. Dkt.

Nos. 33, 43. Plaintiffs then filed a consolidated complaint in February 2024, removing five

plaintiffs and adding eight new ones. Dkt. No. 56. Most recently, on July 1, Plaintiffs filed the

Second Amended Consolidated Complaint. Dkt. No. 102. Despite five attempts to plead a


12
  Because Plaintiffs’ declaratory judgment claim, SAC ¶ 266, rests on their ability to state a
disparate impact claim and Plaintiffs fail to do so, their declaratory judgment claim should also
be dismissed.

                                                 9
plausible claim, Plaintiffs still have been unsuccessful. Granting Plaintiffs yet another

opportunity would be futile, and the SAC should be dismissed with prejudice.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs’ Second Amended Consolidated Complaint should

be dismissed in its entirety with prejudice.

Date: July 23, 2024                            Respectfully submitted,


                                               /s/ Michaela Wilkes Klein
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                                                 10
                                CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2024, I caused the foregoing to be filed electronically

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to counsel of record.



Dated: July 23, 2024                            Respectfully Submitted,

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